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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

 THOMSON REUTERS ENTERPRISE                        )
 CENTRE GmbH and WEST PUBLISHING                   )
 CORPORATION,                                      )
                                                   )
                Plaintiffs,                        )
                                                   )
        v.                                         )   C.A. No. 20-613-SB
                                                   )
 ROSS INTELLIGENCE INC.,                           )
                                                   )
                Defendants.                        )

                         JOINT SUBMISSION REGARDING TRIAL

       Pursuant to the Court’s Order of October 10, 2023 (D.I. 567), Plaintiffs Thomson Reuters

Enterprise Centre GmbH and West Publishing Corporation and Defendant ROSS Intelligence,

Inc. met and conferred about a trial in the above-captioned action. The Parties are available to

start trial on August 26, 2024.

       The Parties’ positions on consolidation and the length of the copyright only case remain

unchanged. See D.I. 561. They will submit a proposal to the Court after they have met and

conferred regarding ROSS’s proposal. Id.

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 October 13, 2023
